Case 10-93904-BHL-11 Doc 1678-1 Filed 12/21/12 EOD 12/21/12 11:49:57 Pg 1of2

Exhibit A
Cattle Sales Contrac¢ Confirmation

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This contract made this i day of __ itll ‘ 20. IO . by and between astern Livestock Company, LLC. of
135 W. Market, New Albany, IN 47150 hereinafter known as Seller, and fox 3° } h 12) Wik
Visa, wal. “ eth oe, fe at aes
of “hd Ss + &Y¥ i xe « vet Voy Ms es 1 2) 3 (address), hereinafter known as Buyer,
SOAS
(1) Buyer agrees to purchase and receive and Seller agrees to sell and deliver on oF between OC: ao 4 o NO Vv ee
the following described cattle:
LOCATIONS
APPROX. NUMBER AGE CLASS BREED BRANDS OF BRANDS PRICE
He Sirs Me BOC:

Me SAC ONE SAG Tos

TE Ao
Mo Sy ut eo

Need sacked i
(2) The cattle are now located on/at Wesrtctt TEA F bee

and are to remain on/at
Delivery to be made by Seller on or about _.
FOB. :

until delivered.
; ae Selier’s option.

(3) The cattle will be weighed as follows:

(4) The.catile will be sorted as follows:

(5) The cattle will have NO FRED of WATER the day of delivery, and ave to remain under the same feed and handling conditions until delivered to
Buyer unless otherwise stared. . . ‘

(6) If this contract covers the resale of cattle purchased for future delivery under contraci, the Seller agrees to use reasonable efforts, to receive the
catile.as purchased. but does not guarantee the count, and Seller aprees to deliver only the number received under the original purchase contract.

(7) Buyer may reject any crippled, blind, locoed. tump-jawed or otherwise deformed or damaged livestock, and any livestock that are not as described

in paragraph | above. Buyer shall notify the Seller of the rejection of any livestock, and the reaion therefor, within days after delivery, Seller
warrants thai the livestock will be delivered free of af security interests. liens or encumbrances, except as follows:

ALL IMPLIED WARRANTIES OF MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE ARE EXCLUDED,

Seller does-not warrant thai the livestock are free from any latent defect, condition, sickness or disease. Seller does not assume responsibility for any loss
after the livestock are detivered, which results from any latent defect, condition, sickness or disease,

(8) Health and brand certificates to be furnished by Seiler.

(9) Ef for any reason State, Federal or Local authorities prohibit the delivery of the cattle for any health reason, or any disease outbreak that would stop
the shipment to its normal destination, this contract may be canceled by Seller and the Seliet agrees to refund the down payment in full to the Buyer. No
liability shall resuit to Seller from the delay or failure to deliver when such delivery is delayed or prevented by any cause beyond Seller's control including,
but not limited to, riots, strikes, rebellions. wars, blockades, embargoes, governmental (United States, Mexican or other actions, tegulations, testrictions, or
export controls (whether legal or otherwise), force majeure, delays in (ransport, fires, accidents, or Acts of God. Seller's partial delivery without fauit shall
not relieve Buyer of Duty to accept partial delivery at unit contract price and terms. With Fespect to any other breach of this agreement by Seller, damages
incurred by Buyer shall not be setoff against or deducted from amounts owing fo Seller in connection with any oiher agreement or sale transaction,

all damages, including but not limited to attorneys’ fees, court costs, and litigation expenses, resulting from a breach of this agreement by Buyer.

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(11) Seller acknowledges receipt of Lb LAs + CO as earnest money

and part payment of the cattle sold in this contract. Balance of purchase price to be paid by Buyer when each lot is weighed, less earnest money per head
deposited,

(12) This writing is intended by the parties as a final expression of their agreemenis and is intended also as a complete and exclusive statement of the
terms of their agreement.

(13} No agent, employee or representative of the Setier has any authority to bind the Seller to any affirmation, representation, or warranty concerning
the goods sold under this contract. Unless such an affirmation, represeniation, or warranty, made by an agent, employee, or representative is specifically
included within this agreement, it shail not be enforceable by the Buyer. .

(14) Pailure to make objection to any term of this confirmation of contract in writing by the fastest practicable means will be understoed as Buyer's
approval and acceptance of the terms and conditions stated herein. For Seller's convenience and records, Seller asks that Buyer return a signed copy, bur this
contract will be binding on the terms stated herein if there has not been such immediate objection, even if no signed confirmation of contract is returned.

413) There shall be no modification or recision of this contract except in writing.

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